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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
In re: § Chapter 7
ALEXANDER E. JONES : Case No. 22-33553
Debtor. :

FINAL FEE APPLICATION OF MARTIN, DISIERE, JEFFERSON & WISDOM, LLP,
SPECIAL COUNSEL TO THE DEBTOR FOR ALLOWANCE AND PAYMENT OF
COMPENSATION AND REIMBURSEMENT OF EXPENSES INCURRED FOR THE
PERIOD FROM JANUARY 8, 2023, THROUGH JUNE 14, 2024
(Relates to dkt. nos. 186 & 708)

SUMMARY COVER SHEET
Name of Applicant: Martin, Disiere, Jefferson &
Wisdom, LLP
Applicant’s professional role in case: Special Counsel to Debtor
Indicate whether this is an interim or final application: Final
Date order of employment was signed: February 28, 2023
Beginning of Period | Ending of Period
Total period covered in application | January 8, 2024 June 14, 2024
Time periods covered by any prior | N/A N/A
applications
Total amounts awarded in all prior applications N/A
Amount of retainer received from Alex Jones (applied) $110,000
Total Fees $530,554.50!
Total fees applied for in this application and in all prior N/A
applications (include any retainer amounts applied or to be
applied)
Total professional fees requested in this application $530,554.50
Total professional hours covered by this application 1,695.9

' Applicant requests allowance of all appropriate applicable fees and expenses herein, on a final basis, though wishes
to clarify that pursuant to the terms of the engagement letter made part of the application to employ Martin, Disiere,
Jefferson & Wisdom, LLP (“MDJW”) (see dkt. 138, p. 10), the Debtor and Free Speech Systems, LLC (“FSS”) are
each responsible for 50% of these fees and expenses. Additionally, there are fees and expenses which were incurred
in the FSS case which fall outside of the Application Period and are not included herein.
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Average hourly rate for professionals $312.85
Total paraprofessional hours covered by this application 45
Average hourly rate for paraprofessionals $144.68
Total Reimbursable expenses $18,934.01
Reimbursable expenses sought in this application $18,934.01

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IN THE UNITED STATES BANKRUPTCY COURT
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In re: § Chapter 7
ALEXANDER E. JONES : Case No. 22-33553
Debtor. ;

FINAL FEE APPLICATION OF MARTIN, DISIERE, JEFFERSON & WISDOM, LLP,
SPECIAL COUNSEL TO THE DEBTOR FOR ALLOWANCE AND PAYMENT OF
COMPENSATION AND REIMBURSEMENT OF EXPENSES
INCURRED FOR THE PERIOD
FROM JANUARY 8, 2023, THROUGH JUNE 14, 2024.

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE
THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY
THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE
HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEYS.

TO THE HONORABLE CHRISTOPHER LOPEZ, UNITED STATES BANKRUPTCY
JUDGE:

COMES NOW MARTIN, DISIERE, JEFFERSON & WISDOM, LLP. (the “Applicant”)
and files this Final Application (the “Application”) for approval of Applicant’s fees in the total
amount of $530,554.50 and reimbursement of all expenses totaling $18,934.01 incurred during
its employment as special counsel to Alexander E. Jones (the “Debtor”). In support of this
Application, the Applicant respectfully states as follows:

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JURISDICTION AND VENUE

1. This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and
1334 and the Standing Order of Reference from the United States District Court for the Southern

District of Texas. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

2. The statutory predicate for the relief sought herein is 11 U.S.C. §§ 330 and 331,

Federal Rule of Bankruptcy Procedure 2016, and the Local Rules of this Court.

RETENTION OF APPLICANT AND PRIOR COMPENSATION

3. On December 2, 2022 (the “Petition Date”), the Debtor commenced his Chapter 11
case by filing a voluntary petition (the “Case”). His company and employer, Free Speech Systems,
LLC (“FSS”), had previously commenced a case (Case No. 22-bk-60043) by filing a petition for
relief under chapter 11, subchapter v, of the Bankruptcy Code on July 29, 2022 (the “FSS Case”).

4, The Debtor filed his Application to Employ Applicant as Special Counsel on

February 7, 2023 [Docket No. 138] (the “Retention Application”). On February 28, 2023, this

Court approved the retention of Applicant as special counsel for the Debtor (the “Retention Order”)

(Docket No. 186). The Retention Order incorporates the terms of the engagement letter that is part
of the Retention Application [see dkt. 38, p. 10], which provides that Applicant will receive 50%
of its fees from Debtor, with the remaining 50% to be paid by FSS. Fifty percent of the fees and
expenses requested herein would be $265,277.25 and $9,467.01, respectively.

5. On January 20, 2023, the Court entered its Order Establishing Procedures for
Interim Compensation and Reimbursement of Expenses of Retained Professionals (“Interim

Compensation Order’) [Docket No. 106] permitting Applicant to receive payment of 80% of fees

and 100% of expenses. Pursuant to the Interim Compensation Order, Applicant has applied the

retainer and received periodic payments on monthly fee statements (for the Debtor and FSS,

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jointly) in the amount of $144,346.88.
6. This Application includes fees and expenses incurred during the entire period of

the Applicant’s engagement (the “Application Period”). These services were rendered and

expenses incurred during the Application Period. Applicant believes such fees and expenses were

reasonable, necessary, and appropriate, given the circumstances.

NATURE AND EXTENT OF LEGAL SERVICES PROVIDED

7. Applicant has provided extensive legal services to the Debtor during the
Application Period. Attached to this Application as Exhibit A are records of the timekeeping
entries during the Period generated by Applicant’s personnel who have worked on this engagement
(the “Invoice”).? These entries describe the Applicant’s services on the Debtor’s and FSS’ behalf.

8. The Invoice also specifies each attorney who provided compensable services.
Specifically, the Invoice identifies the person providing the service and the following: (1) that
person’s individual billing rate and (2) the total number of hours expended by that person.

9. Applicant has broken down its legal services rendered according to the project
categories propounded by the Guidelines of the Office of the United States Trustee. The pertinent
project categories are:

* Asset Analysis and Recovery

* Asset Disposition

* Assumption and Rejection of Leases and Contracts
¢ Avoidance Action Analysis

* Business Operations

* Case Administration

* Claims Administration and Objections

2 See Exhibit A.

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Employment and Fee Applications
Fee/Employment Objections

Financing and Cash Collateral

Litigation

Meetings and Communications with Creditors
Non-working Travel

Plan of Reorganization

Relief from Stay Proceedings

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10. The figures for the time and amounts billed per project category cover the

Application Period. The following chart generally describes the services rendered by Applicant to

the Debtor in each of the relevant project categories, with more additional detail provided in

Exhibit A:

Asset Analysis and Recovery

Asset Disposition

Assumption and Rejection of Leases and Contracts

Avoidance Action Analysis

Business Operations

Case Administration

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Claims Administration and Objections

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Employment and Fee Applications

Fee/Employment Objections

Financing and Cash Collateral

Meetings and Communications with Creditors

Plan of Reorganization

Litigation

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Relief from Stay Proceedings

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Non-working Travel?

REQUEST FOR REIMBURSEMENT OF EXPENSES INCURRED

11. While providing legal services to the Debtor, Applicant incurred certain reasonable
and necessary out-of-pocket expenses while representing the Debtor. A detailed record of these
expenses is included in the Invoice. Expenses were billed at actual cost. Applicant does not charge
for long-distance telephone, outgoing faxes, and in-house charges for copying and postage.
Outside copies ($.15 per page) and postage are billed at the rate charged by the vendor. The

applicant has made no request for general overhead expenses.
12. Applicant’s post-petition expenses are detailed in Exhibit A.

13. Applicant believes that the expense request is reasonable, appropriate, and
necessary and requests that the Court grant it reimbursement for $18,934.01 in reimbursable

expenses incurred during the Application Period by Applicant on the Debtor’s behalf.

FACTORS AFFECTING COMPENSATION

14. Courts recognize that factors other than the number of hours spent and the hourly
rate normally charged may be considered in fixing the amount of reasonable attorneys’ fees to be
awarded in a bankruptcy proceeding. Such factors are outlined in In re First Colonial Corporation
of America, 544 F.2d 1291 (5th Cir. 1977) and Johnson v. Georgia Highway Express, Inc., 488
F.2d 714 (5th Cir. 1974). One or more of these Johnson factors may serve as a basis for enhancing
the hourly rate that might otherwise be allowed. Wolf v. Frank, 555 F.2d 1213 (Sth Cir. 1987). The

Johnson factors are discussed in further detail below.

3 Billed at one-half time.

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Time and Labor Required. Exhibit A lists in detail all the work performed for which
compensation is sought. Time entries are broken out by the date the services were rendered, the
individual performing such services, a description of the services, and the time expended.
Applicant believes that such detail establishes that its request for compensation is reasonable. All

the services specified were actual and necessary for the Debtor to perform its statutory duties.

Novelty and Difficulty. As outlined in more detail in Exhibit A, this case has involved several

procedural phases and challenging legal issues. First, the Applicant engaged in post-trial motions
practice before the 459th District Court of Travis County, Texas to preserve error for Debtor’s
appeal. Then, the Applicant worked with co-counsel to draft and file the Debtor’s appeal to the

Third Court of Appeals. This appeal addressed many complex legal issues, including:

e Whether death penalty sanctions unrelated to the claimed harm were unnecessarily
harsh;

e Whether by construing causation to be “established,” the trial court relieved Plaintiffs
of their burden of proving causation;

e Whether Plaintiffs’ intentional infliction of emotional distress claims were really
defamation claims and, therefore, barred;

e Whether the trial court violated the Texas Damages Act by improperly bifurcating the
trial;

e@ Whether joint and several liability can be imposed on Defendants for exemplary
damages;

e Whether the trial court improperly permitted Plaintiffs to amend their petition to
allege new causes of action after trial; and

e Whether the trial court violated established precedent by awarding Plaintiffs
approximately $1,000,000 in attorney’s fees that were not supported by
contemporaneous detailed billing records.

Skill Required to Perform the Legal Services Properly. This case required counsel to be

familiar with various state laws related to defamation, intentional infliction of emotional distress,

personal injury law, and state court trial and appellate practice.

Preclusion_ of Other Employment. Given the multiple, complex legal issues involved in the

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appellate work and the significant time required to address the issues, MDJW’s representation in
this case has limited Applicant’s ability to accept other employment. Applicant is a mid-sized firm
but relatively few lawyers capable of addressing the multiple, complex, issues presented in the
appeal. Therefore, the 1680 hours spent by Applicant representing Debtor and FSS has required a

significant amount of Applicant’s capacity.

Customary Fee. The hourly rates for each professional are summarized above and in Exhibit A

filed in support of this Application. The attorneys’ rates reflect the usual rates charged by the
Applicant. The hourly rates requested by Applicant compare favorably with the rates charged for
similar appellate work by law firms representing similarly situated debtors, and are less than those

charged by larger firms.

Whether the Fee is Fixed or Contingent. Applicant’s fee is neither fixed nor contingent, other

than the contingency of court allowance and available assets to pay professionals. It is based on

the actual total number of hours worked plus the actual costs incurred.

Amount Involved and Results Obtained. Exhibit A details Applicant’s work during the period

the services were rendered, the individual performing such services, descriptions of the services
and the time expended are all detailed. Applicant believes that such information establishes that
its requested compensation is reasonable. Applicant and The Reynal Firm, P.C. filed, ably

presented, and fully litigated the appeal for which the fees and expenses are sought.

Experience, Reputation, and Ability of the Attorneys. Christopher Martin, whose work was
key to Applicant’s representation, has decades of experience in advocacy. He is highly regarded

by his peers with a very positive reputation in the legal community.

“Undesirability” of Case. Representation of the Debtor in this case was undesirable. Debtor’s

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principal is a controversial figure and the subject of public ire. Further, given the contentious nature
of the Sandy Hook Litigation and the underlying claims, even matters that should have been easily

agreed upon were fiercely contested.

Awards in Similar Cases. Based on the Applicant’s experience in the Texas legal market and

throughout the country, the Applicant’s fees are lower than those allowed in proceedings of similar

scope for the services rendered and results obtained.

CONCLUSION

15. Pursuant to this Application, Applicant seeks final approval of (i) compensation in
the total sum of $530,554.50 and (ii) allowance of expenses in the total sum of $18,934.01.
Applicant further seeks compensation and reimbursement of the unpaid portion of Debtor’s 50%
responsibility of those amounts. Applicant requests approval and payment of all approved,

accrued, and unpaid fees and expenses.

PRAYER

WHEREFORE, Applicant respectfully prays that the Court enter an order (i) approving
this Application; (ii) allowing the reasonable attorney fees and expenses claimed herein as
allowed administrative expenses of the Debtor’s estate; (iii) authorizing and directing the
payment of the remaining balance of approved amounts to Applicant promptly; and (iv) granting

such other and further relief to which Applicant is justly entitled.

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Respectfully submitted June 28, 2024.

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Email: martin@mdjwlaw.com

By: /s/ Christopher W. Martin
Christopher W. Martin
Texas Bar No. 13057620

SPECIAL COUNSEL FOR THE DEBTOR

/s! Christina W_Stephenson

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Email: dallaseservice@crowedunlevy.com

ATTORNEYS FOR DEBTOR
ALEXANDER E. JONES, filing on behalf of estate
professionals

CERTIFICATE OF SERVICE

On June 28, 2024, a true and correct copy of the foregoing document was filed with the
Court and served electronically upon those parties registered to receive electronic notice via the
Court’s CM/ECF system. A Notice will also be mailed to those creditors who are not registered to
receive electronic notice.

/s/ Christina W. Stephenson
Christina W. Stephenson

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